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14                                  UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                           SAN FRANCISCO DIVISION

17
      ABRAHAM BIELSKI, on behalf of himself and all     Case No. 3:21-cv-07478-WHA
18    others similarly situated,
                                                        NOTICE OF APPEARANCE FOR
19                              Plaintiff,              PLAINTIFF BY SABITA J. SONEJI
20             v.                                       Department: Courtroom 12 – 19th Floor
                                                        Judge: Honorable William H. Alsup
21    COINBASE, INC.,
                                                        Date Filed: September 24, 2021
22                              Defendant.
                                                        Trial Date: None set
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                          NOTICE OF APPEARANCE FOR PLAINTIFF BY SABITA J. SONEJI
                               Bielski v. Coinbase, Inc., No. 3:21-cv-07478-WHA
      Case 3:21-cv-07478-WHA Document 65 Filed 08/02/22 Page 2 of 2



 1 TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that the undersigned attorney Sabita J. Soneji hereby enters her

 3 appearance in the above-captioned case as counsel of record for Plaintiff Abraham Bielski and the

 4 putative class. Counsel is a member of the State Bar of California and is admitted to practice in the

 5 Northern District of California. Please serve counsel with copies of all pleadings, papers, and notices

 6 in this action as follows:

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11 Date: August 2, 2022                              TYCKO & ZAVAREEI LLP

12                                               By: /s/ Sabita J. Soneji
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